.,. . ,-,   ~   ...
                        Case 1:18-cv-01390-RGA Document 13 Filed 01/02/19 Page 1 of 1 PageID #: 67



                                             THE UNITED STATES DISTRICT COURT
                                              FOR THE DISTRICT OF DELAWARE


                       DISPLAY TECHNOLOGIES, LLC,


                                            Plaintiff,                   Civil Action No. 1:18-cv-01390-RGA
                                     v.                                      JURY TRIAL DEMANDED
                       COMO AUDIO, LLC,

                                            Defendant.



                                                         ORDER OF DISMISSAL

                             Having reviewed the Motion to Voluntarily Dismiss with Prejudice filed by Plaintiff

                      Display Technologies, LLC, pursuant to Fed. R. Civ. P. 4l(a)(2), it is ORDERED that all claims

                      asserted in this action against Defendant Como Audio, LLC, are hereby DISMISSED WITH

                      PREmDICE, with each party to bear its own costs, expenses, and attorneys' fees.


                                                         q
                                               _,201,8"'

                                                                        United States District Judge




                                                                    1
